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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA
                                   Criminal No. 04-297 (RHK/AJB)


UNITED STATES OF AMERICA,                       )
                                                )
                        Plaintiff,              ) AMENDED
                                                ) ORDER FOR APPEARANCE OF
                v.                              ) DEFENDANT AND FOR
                                                ) TRANSPORTATION EXPENSES
FERNANDO RAMIREZ,                               ) PURSUANT TO 18 U.S.C. § 4285
                                                )
                        Defendant.              )


        The Court having held Defendant to answer in the United States District Court for the District

of Minnesota and finding that the defendant has been released from custody, currently resides in Los

Angeles, California, and is financially unable to provide the necessary transportation to appear before

the Court,

        IT IS ORDERED that the defendant appear before the above-referenced court on May 17,

2005, not later than 10:30 a.m.

        IT IS FURTHER ORDERED that the United States Marshal furnish the defendant

transportation to appear before the Court, transportation to return home to Los Angeles, California

after said court hearing, and to furnish subsistence expenses not to exceed per diem allowance for

travel contemplated under 5 U.S.C. § 5702(a) all as authorized by 18 U.S.C. § 4285.

Dated: __5/17/05           _________________________

                                                        s/Richard H. Kyle
                                                        Richard H. Kyle
                                                        United States District Court Judge
